    Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 1 of 18 PageID #:154




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

RONALD BERDELL, on behalf of     )
himself and all others similarly situated,
                                 )
                                 )
           PLAINTIFF,            )
                                 )                     Civil Action No. 20-cv-01252
           v.                    )
                                 )
VELOCITY INVESTMENTS, L.L.C. and )                     Honorable Martha M. Pacold
MANDARICH LAW GROUP, LLP,        )
                                 )
           DEFENDANTS.           )


                      FIRST AMENDED CLASS ACTION COMPLAINT

         Plaintiff, Ronald Berdell, brings this action on behalf of himself and a class, under the

Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and alleges:

                                  JURISDICTION AND VENUE

         1.     This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA and 28 U.S.C.

§1331.

         2.     Venue is proper in this District because parts of the acts and transactions occurred

here and Defendants transact substantial business here.

                                             STANDING

         3.     Plaintiff has suffered an injury in fact that is traceable to Defendants’ conduct and

that is likely to be redressed by a favorable decision in this matter.

         4.     Specifically, Plaintiff has suffered a harm from receiving false, misleading, and

deceptive communications from Defendants while they were attempting to collect a debt.

         5.     Plaintiff has thus suffered an injury as a result of Defendants’ conduct, giving rise

to standing before this Court. Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1544 (2016), quoting

                                                   1
    Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 2 of 18 PageID #:155




Lujan v. Defenders of Wildlife, 504 U.S. 555, 580 (1992) (Congress has the power to define

injuries and articulate chains of causation that will give rise to a case or controversy where none

existed before.); Bellwood v. Dwivedi, 895 F. 2d 1521, 1526-27 (7th Cir. 1990) (“Congress can

create new substantive rights, such as a right to be free from misrepresentations, and if that right

is invaded the holder of the right can sue without running afoul of Article III, even if he incurs no

other injury[.]”).

                                              PARTIES

        6.      Plaintiff, Ronald Berdell (“Plaintiff”), is a resident of the State of Illinois, from

whom Defendants attempted to collect a delinquent consumer debt allegedly owed for a

defaulted WebBank consumer loan.

        7.      Plaintiff is thus a consumer as that term is defined in 15 U.S.C. § 1692a(3) of the

FDCPA.

        8.      Defendant, Velocity Investments, L.L.C. (“Velocity”), is a New Jersey limited

liability company with its principal place of business at 1800 Route 34 North, Building 4, Suite

404A, Wall, New Jersey, 07719.

        9.      Velocity does or transacts business in Illinois.

        10.     Velocity holds a collection agency license from the state of Illinois.

        11.     Velocity maintains a website, https://velocityrecoveries.com/.

        12.     Velocity’s website provides in part as follows:

                ABOUT VELOCITY INVESTMENTS, LLC
                Velocity is a comprehensive accounts receivables management (ARM) company
                focused on working with consumers to find satisfactory resolutions to outstanding
                debts.




                                                   2
    Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 3 of 18 PageID #:156




                Velocity combines our strong expertise in customer service and consumer focused
                collection solutions with our technologically advanced and compliance based
                management system across our network of account resolution specialists located
                in all fifty states.


                Maintaining high standards means conducting our business ethically and legally.
                Our adherence to these standards is a key component in building a reputation for
                excellence and integrity, and ensuring that Velocity’s employees and
                representatives treat each consumer with fairness, dignity and respect.

Velocity Investments, LLC, “ABOUT VELOCITY INVESTMENTS, LLC”,

https://velocityrecoveries.com/, last viewed February 20, 2020.

        13.     Velocity’s principal business purpose is the collection of defaulted consumer

debts via the use of interstate commerce and mails, and Velocity is a “debt collector” as defined

within 15 U.S.C. § 1692a(6) of the FDCPA.

        14.     Defendant, Mandarich Law Group, LLP (“Mandarich”) is a California limited

liability partnership. It does or transacts business in Illinois, with its principal place of business at

420 North Wabash Avenue, Suite 400, Chicago, Illinois, 60611.

        15.     Mandarich does or transacts business in Illinois.

        16.     Mandarich maintains a website, http://mandarichlaw.com/.

        17.     Mandarich’s website provides in part as follows:

                What is Mandarich Law?

                We are a law firm hired by creditors to attempt to resolve your consumer or

                commercial debt. We want to work with you to create a payment solution that is

                appropriate for your unique financial situation. If you have received a letter or




                                                   3
    Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 4 of 18 PageID #:157




                phone call from our office, we invite you to contact us today so we can try to help

                you resolve your account.

         Mandarich Law Group, LLP, “FREQUENTLY ASKED QUESTIONS”, “What is

        Mandarich Law?”, http://mandarichlaw.com/who-we-are/faq/, Accessed on 20 Feb.

        2020.

       18.      Mandarich’s website also states:

                This communication is from a debt collector. This is an attempt to collect a debt

                and any information obtained will be used for that purpose. We are engaged in the

                collection of consumer and commercial debt…

        Mandarich Law Group, LLP, “FREQUENTLY ASKED QUESTIONS”,

        http://mandarichlaw.com/who-we-are/faq/, Accessed on 20 Feb. 2020.

       19.      Mandarich regularly collects or attempts to collect defaulted consumer debts on

behalf of others via the mails, via telephone calls to consumers, and via litigation, and is thus a

“debt collector” as defined in 15 U.S.C. § 1692a(6) of the FDCPA.

                                       FACTUAL ALLEGATIONS

        20.     According to Defendants, Plaintiff incurred an alleged debt for the purchase of

goods and services, specifically stemming from purchases made from funds obtained through the

execution of a Consumer Loan Agreement with WebBank on June 9, 2015 (“alleged debt”).

        21.     The alleged debt arose from purchases intended and used for personal purposes,

and is thus a “debt” as that term is defined at § 1692a(5) of the FDCPA.

        22.     Due to his financial circumstances, Plaintiff could not pay his alleged debt, and

the alleged debt went into default.

        23.     Velocity alleged to have purchased the alleged debt after default.



                                                   4
    Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 5 of 18 PageID #:158




        24.     Velocity thereafter hired Mandarich to collect the alleged debt.

        25.     Mandarich, on behalf of Velocity, filed a lawsuit against Plaintiff on July 25,

2019 in the Circuit Court of Cook County, Illinois (“State Court Complaint”), styled Velocity

Investments, LLC v. Ronald Berdell, Case No. 19-M1-122253. (Exhibit A, State Complaint and

Summons). see Cook County Case Information Summary, available at

https://courtlink.lexisnexis.com/cookcounty/FindDock.aspx?NCase=2019-M1-

122253&SearchType=0&Database=1&case_no=&PLtype=1&sname=&CDate= (last visited

February 19, 2020).

       26.      Velocity, via Mandarich, served the State Court Complaint, along with a

summons (“Summons”) on Plaintiff at his home on or about August 27, 2019.

       27.      The State Court Complaint and Summons conveyed information regarding the

alleged debt to Plaintiff, including the identity of the original creditor and a balance on the

alleged debt.

       28.      The State Court Complaint and Summons were each thus a “communication” as

that term is defined at 15 U.S.C. § 1692(a) of the FDCPA.

       29.      The face of the State Court Complaint states the following claim:

                Amount Claimed $15,425.67
                plus Costs

(Ex. A, State Court Complaint) (emphasis added).

       30.      Included in the Complaint was a “Credit Card or Debt Buyer Collection Action

Affidavit” (“Affidavit”) executed by Alia Shaalan. (Ex. B, Affidavit).

       31.      According to the Affidavit, Ms. Shaalan is an authorized agent of Velocity

Funding LLC.




                                                  5
    Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 6 of 18 PageID #:159




        32.     At all times relevant to this Complaint, Velocity authorized, directed, and

approved of and ratified Ms. Shaalan’s actions taken toward Plaintiff, during the course of their

attempts to collect the alleged debt therefrom.

        33.     The Affidavit was drafted and created by one of more of the Defendants.

        34.     The Affidavit references the alleged debt as a “Consumer Debt or Account”.

(Exhibit B, Affidavit).

        35.     Illinois Supreme Court Rule 280.2 (“Rule 280.2”), titled “Complaint in Credit

Card or Debt Buyer Collection Actions”, requires that an affidavit, that contains various

information regarding the consumer debt to be collected, be attached to every collection

complaint filed on behalf of a debt buyer, or which seeks to collect a consumer credit card debt.

Ill. Sup. Ct., R 280.2.

        36.     Rule 280.2 requires that a plaintiff “…(b) Attach a completed Credit Card or Debt

Buyer Collection Affidavit, prepared by utilizing, or substantially adopting the appearance and

content of, the form provided in the Article II Forms Appendix, together with all required

documents;…”. Ill. Sup. Ct., R 280.2

        37.     Paragraph 3 of the Rule 280.2 Form in effect at the time of the filing of the

Affidavit provides in part as follows:

3. ADDITIONAL ACCOUNT INFORMATION AFTER CHARGE-OFF

Plaintiff is seeking additional amounts after the charge-off date:
[] No*
[] Yes
        [] Total amount of interest accrued: $ ;
        [] Total amount of non-interest charges or fees accrued $ ;
        [] Plaintiff is seeking attorney's fees in the amount of $ .

Balance due and owing as of date of affidavit: $

* Costs prayed for in the Complaint will not be reflected.

                                                  6
    Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 7 of 18 PageID #:160




Ill. Sup. Ct., R 280.2 (Exhibit C, Text of Rule 280.2) (emphasis in the original).

        38.    Paragraph 3 of the Affidavit drafted and used by Defendants in their attempts to

collect defaulted consumer debts, provides in part as follows:

3. ADDITIONAL ACCOUNT INFORMAITON [sic] AFTER CHARGE-OFF
Plaintiff is seeking additional amounts after the charge-off date:
☒ No
□ Yes
        □ Total amount of interest accrued: $ ______
        □ Total amount of non-interest charges or fee accrued $ ______
        □ Plaintiff is seeking attorney's fees in the amount of $ ______

Balance due and owing as of the date of affidavit: $15,425.67.
(Ex. B, Affidavit).

        39.    Paragraph 3 of the Form requires that the debt collector in a state court action

indicate whether or not it is collecting additional amounts after the charge-off date.

        40.    Velocity indicated that it is not seeking additional amounts after the charge-off

date, as follows:

               3.ADDITIONAL ACCOUNT INFORMATION AFTER CHARGE-OFF
               Plaintiff is seeking additional amounts after the charge-off date:
               [X] No

(Ex. B, Affidavit).

        41.    Despite this fact, the State Court Complaint in fact seeks that the costs of the State

Court Complaint be paid by Plaintiff.

        42.    One of the statements must be false, as Defendants cannot both be seeking, and

not seeking, additional amounts incurred after charge-off of an alleged debt.

        43.    The judicially sanctioned Form provided by Rule 280.2 required that an asterisk

be placed after the “[] No*” box in paragraph 3, and that the paragraph also include a statement



                                                 7
    Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 8 of 18 PageID #:161




that “* Costs prayed for in the Complaint will not be reflected.” (Exhibit C, Text of Rule

280.2).

          44.   The Affidavit drafted and used by Defendants, however, did not comply with the

Form provided in Rule 280.2, in multiple respects.

          45.   Most notably, Defendants removed the asterisk that was required to be placed

after the “[] No*” box in paragraph 3 in their Affidavit, and did not include the required text that

states “* Costs prayed for in the Complaint will not be reflected.” (Exhibit C, Text of Rule

280.2).

          46.   The plain meaning of “additional amounts after the charge-off date” as used in the

Affidavit would include court costs by any reasonable construction.

          47.   An unsophisticated consumer would construe the words “additional amounts” in

the Affidavit to include any additional amount sought beyond the charge-off amount, including

costs.

          48.   Plaintiff construed the words “additional amounts” to include any additional

amount sought beyond the charge-off amount, including costs.

          49.   Plaintiff was confused as to whether costs were being sought as indicated on the

face of the State Court Complaint, or were not being sought as indicated in the Affidavit.

          50.   Both Plaintiff and the unsophisticated consumer would construe the words

“additional amounts” to include any additional amount sought beyond the charge-off amount,

especially because the very sentence that the Rule required to be included that would clarify the

confusion—* Costs prayed for in the Complaint will not be reflected—was omitted by

Defendants.




                                                 8
    Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 9 of 18 PageID #:162




        51.    Mandarich’s policy is to seek court costs from consumers against which they

obtain judgments in state court collection actions, on behalf of Velocity.

        52.    Defendants intended to seek costs from Plaintiff in connection with the State

Court Complaint if they had prevailed in obtaining a judgment against Plaintiff in the same.

        53.    Defendants intended to seek costs from Plaintiff despite the fact that the Affidavit

indicates that they were not seeking additional amounts after charge-off.

        54.    In a hearing in the State Court Action that was held on October 3, 2019,

Defendants in fact requested that costs be paid, and costs were awarded by the State Court.

        55.    On March 3, 2020, Mandarich in fact sought to collect court costs and other

charges incurred after charge-off of the alleged debt, from Plaintiff via the filing of a wage

garnishment, in accordance with its policy to seek said costs from consumers against which it has

obtained judgments, on behalf of their clients.

        56.    When there are two different accounts of what a debtor actually owes the creditor,

that one version is the correct description does not save the other, incorrect description. Veach v.

Sheeks, 316 F.3d 690, 93 (7th Cir. 2003), citing Johnson v. Revenue Mgmt. Corp., 169 F.3d

1057, 1060 (7th Cir. 1999).

        57.    In this case, there existed two distinct versions of the amount that Defendants

were seeking: one version of the amount of the debt with costs, and one version of the amount of

the debt without costs. Both could not be correct, and thus at least one version was wrong.

        58.    “Refusing to quantify an amount that the debt collector is trying to collect could

be construed as falsely stating the amount of debt.” Fields v. Wilber Law Firm, P.C., 383 F.3d

562, 565 (7th Cir. 2004); See Miller v. McCalla, Raymer, Padrick, Cobb, Nichols, and Clark,

L.L.C., 214 F.3d 872, 875-76 (7th Cir. 2000).



                                                  9
   Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 10 of 18 PageID #:163




        59.    Defendants’ act of seeking to collect court costs, after denying that they were

seeking to collect court costs, falsely communicates the amount of debt that Defendants sought

to collect, and constitutes a deceptive, misleading, confusing and unfair practice, in violation of

the FDCPA.

        60.    15 U.S.C. § 1692e of the FDCPA provides as follows:

               False or misleading representations

               A debt collector may not use any false, deceptive, or misleading
               representation or means in connection with the collection of any debt.
               Without limiting the general application of the foregoing, the following
               conduct is a violation of this section:

               . . . (2) The false representation of—

        (A) The character, amount, or legal status of any debt

        (B) any services rendered or compensation which may be lawfully received by any

        debt collector for the collection of a debt.

                . . . (5) The threat to take any action that cannot legally be taken. . .

                . . . (10) The use of any false representation or deceptive means to collect or
                attempt to collect any debt or to obtain information concerning a
                consumer. . . .

        61.    Defendants misrepresented the amount and legal status of an alleged debt, in

violation of 15 U.S.C. § 1692e and § 1692e(2) when they sued Plaintiff for court costs which

Velocity had expressly waived.

        62.    Defendants misrepresented the amount and legal status of an alleged debt, in

violation of 15 U.S.C. § 1692e and § 1692e(2) when they communicated both that court costs

were, and that they were not, being sought.




                                                 10
   Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 11 of 18 PageID #:164




        63.    Defendants misrepresented the compensation to which they were entitled and

which may be lawfully received in a successful action, in violation of 15 U.S.C. § 1692e and §

1692e(2), when they communicated that they were not seeking court costs.

        64.    Defendants used false, misleading, and deceptive means to attempt to collect a

debt, in violation of 15 U.S.C. § 1692e and § 1692e(10), when they sought to collect court costs

in a state court complaint while swearing under oath that no additional amounts after charge-off

were being sought.

        65.    Defendants used false, misleading, and deceptive means to attempt to collect a

debt, in violation of 15 U.S.C. § 1692e and § 1692e(10), when they communicated that they

were not seeking court costs when their policy was to always seek to collect the same, when

they did thereafter attempt to collect the same, and thus when they intended to collect court costs

at all times relevant to the State Court Action.

        66.    Defendants improperly threatened to pursue court costs from Plaintiff, in violation

of 15 U.S.C. § 1692e(5), when they sought to collect additional amounts after the charge-off date

of a debt that it had indicated under oath they would not seek.

        67.    Plaintiff hired an attorney to advise him on the meaning of the content of the

complaint, including the conflicting statements found therein.

        68.    Plaintiff did not know how much he was being asked to pay as the result of

Defendants’ conflicting communications to him.

        69.    Plaintiff did not understand, and the unsophisticated consumer would not

understand, whether Velocity was seeking additional amounts after charge-off, as indicated in its

State Complaint, or not seeking additional amounts after charge-off, as indicated in its Affidavit.




                                                   11
   Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 12 of 18 PageID #:165




        70.    Defendants could have easily avoided violating the FDCPA by complying with

the judicially sanctioned Rule 280.2 Form by including the statement that “* Costs prayed for

in the Complaint will not be reflected” when indicating whether or not Velocity would be

seeking additional amounts after charge-off, instead of omitting said statement and falsely

representing, as they did, that Velocity was not collecting additional amounts after charge-off.

        71.    15 U.S.C. § 1692f of the FDCPA provides as follows:

               Unfair practices

               A debt collector may not use unfair or unconscionable means to collect
               or attempt to collect any debt. Without limiting the general application
               of the foregoing, the following conduct is a violation of this section:

               (1)   The collection of any amount (including any interest, fee,
               charge, or expense incidental to the principal obligation) unless such
               amount is expressly authorized by the agreement creating the debt or
               permitted by law. . . .

        72.    Defendants engaged in an unfair practice, in violation of 15 U.S.C. § 1692f, when

they caused Plaintiff to be served with a state court complaint and summons that variously

indicated both that Velocity was, and was not, seeking additional amounts after the charge-off

date of an alleged debt.

        73.    Defendants engaged in an unfair practice, in violation of 15 U.S.C. § 1692f and

f(1), when they attempted to collect court costs which Velocity had expressly waived, and thus

that were not permitted to be collected by law.

        74.    Defendants used false, misleading, and deceptive means to attempt to collect a

debt, in violation of 15 U.S.C. § 1692f, when they communicated that they were not seeking

court costs when their policy was to always seek to collect the same, and thus when they

intended to collect court costs at all times relevant to the State Court Action.




                                                  12
   Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 13 of 18 PageID #:166




        75.    Violations of the FDCPA which would influence a consumer’s decision to pay a

debt in response to a dunning letter, are material. Boucher v. Fin. Sys. of Green Bay, Inc., 880

F.3d 362, 366 (7th Cir. 2018) (citing Muha v. Encore Receivable Mgmt., Inc., 558 F.3d 623, 628

(7th Cir. 2009)).

        76.    Here, Defendants’ conflicting information given to a consumer regarding their

intention to seek additional amounts after the charge-off date of an alleged debt would prevent a

consumer from knowing how much is owed on an alleged debt or what additional exposure he

faces were he to proceed with a lawsuit.

        77.    The FDCPA requires precise calculation of the exact amount of an alleged debt,

“and for good reason: the debt collector legally may collect (or attempt to collect) only the

amount actually owed by the debtor…” See Bernstein v. Howe, 2003 WL 1702254, at *4 (S.D.

Ind. Mar. 31, 2003) (finding an FDCPA violation where a debt collector failed to identify the

amount of interest owed on an alleged debt).

        78.    Defendants’ collection communications are to be interpreted under the

“unsophisticated consumer” standard. See Gammon v. GC Services, Ltd. Partnership, 27 F.3d

1254, 1257 (7th Cir. 1994).

        79.    The FDCPA applies to conduct in state-court litigation, including in state-court

pleadings. Marquez v. Weinstein, Pinson, & Riley, P.S., 836 F.3d 808, 812 (7th Cir. 2016).

        80.    Velocity bears the burden of monitoring the activities of those it enlists to collect

debts on its behalf, including Mandarich. Janetos v. Fulton Friedman & Gullace, LLP, No. 15-

1859, 2016 WL 1382174, at *7 (7th Cir. 2016).




                                                 13
   Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 14 of 18 PageID #:167




 CLASS COUNT—FAIR DEBT COLLECTION PRACTICES ACT— “COSTS CLASS”

          81.   Plaintiff incorporates by reference the preceding paragraphs as if fully plead

herein.

          82.   Velocity’s net worth is more than $50,000,000.

          83.   Plaintiff, Ronald Berdell, brings this action individually and as a class on behalf

of the following class:

(1) all persons similarly situated in the State of Illinois (2) from whom Mandarich attempted to

collect a debt on behalf of Velocity (3) by serving a complaint and summons filed in an Illinois

State Court (4) which includes a document titled “Credit Card or Debt Buyer Collection Action

Affidavit (Supreme Court Rule 280.2)” or a title substantially similar (5) where the box labeled

“[P]laintiff is seeking additional amounts after the charge-off date” is checked “[No]” (6) but

where Velocity nonetheless requests court costs in the complaint and/or summons (7) where the

Affidavit does not state “* Costs prayed for in the Complaint will not be reflected” (8) during

the period of time that begins on July 19, 2019 and ends on July 19, 2020.

          84.   The Affidavit contained within the State Court Complaint is a form affidavit that

was drafted by one or more Defendants and that, though noncompliant with Rule 280.2 and not

in the form required by the Rule, Defendants have nonetheless caused to be included in at least

300 lawsuits filed on behalf of Velocity against consumers in Illinois, within the last year.

          85.   The form affidavit drafted, filed and caused to be served by Velocity and/or

Mandarich in collection cases filed on behalf of Velocity, purportedly pursuant to Illinois

Supreme Court Rule 280.2, applies only to consumer debts.

          86.   As the “Credit Card or Debt Buyer Collection Action Affidavit” contained within

the State Court Complaint is a form affidavit drafted and used by Defendants, the Class likely



                                                 14
   Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 15 of 18 PageID #:168




consists of more than 40 persons from whom Defendants attempted to collect a debt using said

form.

         87.       Plaintiff ’s claims are typical of the claims of the Class. Common questions of law

or fact raised by this class action complaint affect all members of the Class and predominate over

any individual issues. Common relief is therefore sought on behalf of all members of the Class.

This class action is superior to other available methods for the fair and efficient adjudication of

this controversy.

         88.       The prosecution of separate actions by individual members of the Class would

create a risk of inconsistent or varying adjudications with respect to individual members of the

Class and would, as a practical matter, either be dispositive of the interests of other members of

the Class not party to the adjudication, or substantially impair or impede their ability to protect

their interests.

         89.       Plaintiff will fairly and adequately protect and represent the interests of the Class.

The management of the class action proposed is not extraordinarily difficult, and the factual and

legal issues raised by this class action complaint will not require extended contact with the

members of the Class, because Defendants’ conduct was perpetrated on all members of the Class

and will be established by common proof. Moreover, Plaintiff has retained counsel experienced

in class action litigation including class actions brought under the FDCPA.

         90.       Defendants misrepresented the amount and legal status of an alleged debt, in

violation of 15 U.S.C. § 1692e and § 1692e(2) when they sued Plaintiff for court costs which

Velocity had expressly waived.




                                                     15
   Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 16 of 18 PageID #:169




        91.     Defendants misrepresented the amount and legal status of an alleged debt, in

violation of 15 U.S.C. § 1692e and § 1692e(2) when they communicated both that court costs

were, and that they were not, owed and/or being sought.

        92.     Defendants misrepresented the compensation to which they were entitled and

which may be lawfully received in a successful action, in violation of 15 U.S.C. § 1692e and §

1692e(2), when they communicated that they were not seeking court costs.

        93.     Defendants used false, misleading, and deceptive means to attempt to collect a

debt, in violation of 15 U.S.C. § 1692e and § 1692e(10), when they sought court costs in a state

court complaint while swearing under oath that no additional amounts after charge-off were

being sought.

        94.     Defendants used false, misleading, and deceptive means to attempt to collect a

debt, in violation of 15 U.S.C. § 1692e and § 1692e(10), when they communicated that they

were not seeking court costs when their policy was to always seek to collect the same, though

they did thereafter attempt to collect the same, and thus when they intended to collect court costs

at all times relevant to the State Court Action.

        95.     Defendants improperly threatened to pursue court costs from Plaintiff, in violation

of 15 U.S.C. § 1692e(5), when they sought additional amounts after the charge-off date of a debt

that it had indicated under oath they would not seek.

        96.     Defendants engaged in an unfair practice, in violation of 15 U.S.C. § 1692f when

they caused Plaintiff to be served with a state court complaint and summons that variously

indicated both that Velocity was, and was not, seeking additional amounts after the charge-off

date of an alleged debt.




                                                   16
   Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 17 of 18 PageID #:170




        97.    Defendants used false, misleading, and deceptive means to attempt to collect a

debt, in violation of 15 U.S.C. § 1692f, when they communicated that they were not seeking

court costs when their policy was to always seek to collect the same, though they did thereafter

attempt to collect the same, and thus when they intended to collect court costs at all times

relevant to the State Court Action.

        98.    Defendants engaged in an unfair practice, in violation of 15 U.S.C. § 1692f and

f(1), when they attempted to collect court costs which Velocity had expressly waived, and thus

that were not permitted to be collected by law.

                              REQUEST FOR RELIEF—CLASS

       WHEREFORE, Plaintiff requests that the Court enter judgment in Plaintiff’s and the

class members’ favor and against Defendants as follows:

               A.      Find that Defendants violated the FDCPA;

               B.      Certify the action as a class action;

               C.      Award statutory damages, and actual damages if any, for the Plaintiff and

                       class pursuant to 15 U.S.C. § 1692k(a)(2);

               D.      Award Costs and reasonable attorney fees pursuant to 15 U.S.C. §

                       1692k(a)(3);

               E.      Award such other or further relief as the Court deems proper.




                                                  17
   Case: 1:20-cv-01252 Document #: 34 Filed: 07/17/20 Page 18 of 18 PageID #:171




                                                      By: s/Mario Kris Kasalo
                                                         One of Plaintiff’s Attorneys

Mario Kris Kasalo
The Law Office of M. Kris Kasalo, Ltd.
20 North Clark Street, Suite 3100
Chicago, IL 60602
Tel 312-726-6160
Fax 312-698-5054
mario.kasalo@kasalolaw.com




                                 CERTIFICATE OF SERVICE

       I, Mario Kris Kasalo, an attorney, hereby certify that on July 17, 2020, I electronically filed

the foregoing document using the CM/ECF system, which will send notification of such filing to

all attorneys of record.


Dated: July 17, 2020                                                        Respectfully submitted,


                                                                           By: s/Mario Kris Kasalo




                                                 18
